              IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
                       SHERMAN DIVISION


MOBILITY WORKX, LLC,

                   Plaintiff,
                                  Civil Action No.: 4:17-CV-00872-ALM
         v.

CELLCO PARTNERSHIP D/B/A          JURY TRIAL DEMANDED
VERIZON WIRELESS,

                   Defendant.



DEFENDANT’S MOTION TO STRIKE AND EXCLUDE CERTAIN PORTIONS OF
       THE EXPERT TESTIMONY OF SUKUMARAN NAIR, Ph.D.
                                                 TABLE OF CONTENTS

                                                                                                                                    Page

TABLE OF CONTENTS................................................................................................................. i

TABLE OF EXHIBITS ................................................................................................................. iii

I.        INTRODUCTION .............................................................................................................. 1

II.       LEGAL STANDARD......................................................................................................... 1

          A.        Legal Standard for Motions to Strike...................................................................... 1

          B.        Legal Standard for Daubert Motions...................................................................... 2

III.      ARGUMENT...................................................................................................................... 3

          A.        Dr. Nair Improperly Introduces New Theories of Infringement Absent
                    from Mobility’s ICs That Should Be Stricken........................................................ 3

                    1.         The ’417 Patent ........................................................................................... 3

                    1.         The ’330 Patent ........................................................................................... 4

          B.        Dr. Nair’s Incomplete and Conclusory Opinions Fail to Meet the
                    Threshold Under Daubert and Should Be Excluded. ............................................. 5

                    1.         The ’417 Patent ........................................................................................... 5

                    2.         The ’330 Patent ........................................................................................... 9

IV.       CONCLUSION................................................................................................................. 10




                                                                    i
                                                 TABLE OF AUTHORITIES

                                                                                                                                      Page(s)
CASES

EON Corp. IP Holdings, LLC v. Sensus USA Inc.,
  No. 6:09–cv–116, 2010 WL 346218 (E.D. Tex. Jan. 21, 2010) ................................................1

Gen. Elec. Co. v. Joiner,
   522 U.S. 136 (1997)...................................................................................................................2

Genband US LLC v. Metaswitch Networks Corp.,
   No. 2:14-CV-33-JRG-RSP, 2016 WL 3475688 (E.D. Tex. Jan. 7, 2016).................................2

Hathaway v. Bazany,
   507 F.3d 312 (5th Cir. 2007) .....................................................................................................2

Johnson v Arkema, Inc.,
   685 F.3d 452 (5th Cir. 2012) .....................................................................................................6

KlausTech, Inc. v. Google LLC,
   No. 10-cv-05899-JSW-DMR, 2018 WL 5109383 (N.D. Cal. Sept. 14, 2018)..........................2

Kumho Tire Co. v. Carmichael,
  526 U.S. 137 (1999)...................................................................................................................2

Liquid Dynamics Corp. v. Vaughan Co.,
   449 F.3d 1209 (Fed. Cir. 2006)..................................................................................................2

Opal Run LLC v. C & A Mktg., Inc.,
   No. 2:16-CV-24-JRG-RSP, 2017 WL 3381344 (E.D. Tex. May 15, 2017)..........................2, 4

ROY-G-BIV Corp. v. ABB, Ltd.,
  63 F. Supp. 3d 690, 699 (E.D. Tex. 2014).................................................................................2

Saffran v. Johnson & Johnson,
    No. 2:07-CV-451, 2011 WL 197871 (E.D. Tex. Jan. 20, 2011) ...........................................2, 7

Sycamore IP Holdings LLC v. AT&T Corp., et al.,
   No. 2:16-CV-588 (E.D. Tex. Oct. 10, 2017) (Bryson, J., sitting by
   designation)................................................................................................................................5

RULES

FED. R. CIV. P. 26(a)(2)....................................................................................................................2

L.R. CV-7(l).....................................................................................................................................1



                                                                        ii
                              TABLE OF EXHIBITS

Exhibit                                       Reference
 Ex. 1    U.S. Patent No. 8,213,417 (“’417 Patent”)
 Ex. 2    U.S. Patent No. 7,231,330 (“’330 Patent”)
 Ex. 3    Chart of Asserted Claims of the ’417 and ’330 Patents
 Ex. 4    Plaintiff’s P.R. 3-1 Disclosure of Asserted Claims and Infringement Contentions
          for the ’417 Patent
 Ex. 5    Plaintiff’s P.R. 3-1 Disclosure of Asserted Claims and Infringement Contentions
          for the ’330 Patent
 Ex. 6    Updated Expert Report by Dr. Sukumaran Nair dated June 20, 2019
 Ex. 7    Expert Report by Dr. Sukumaran Nair dated May 16, 2019
 Ex. 8    Excerpts from Verizon’s Rebuttal Expert Report of James A. Proctor, Jr.,
          M.S.E.E. Regarding Non-Infringement of the Asserted Claims dated July 4,
          2019
 Ex. 9    Excerpts from “Verizon Wireless Requirement Plan” dated February 2019
          (MWVZ00001843–2092)




                                         iii
I.     INTRODUCTION

       Defendant Cellco Partnership d/b/a Verizon Wireless (“Verizon”) respectfully moves to

strike and exclude certain opinions contained in the Updated Expert Report of Dr. Sukumaran

Nair with regard to the alleged infringement of Claims 1, 4, and 7 of U.S. Patent No. 8,213,417

(“’417 Patent”) and Claims 1, 3, and 4 of U.S. Patent No. 7,231,330 (“’330 Patent”) served by

Plaintiff Mobility Workx, LLC (“Mobility”) on June 20, 2019.1 Specifically, Verizon moves to

strike new infringement theories improperly introduced in Dr. Nair’s report that were absent in

Mobility’s Infringement Contentions (“ICs”), and to exclude under Daubert certain opinions of

Dr. Nair that are incomplete, conclusory, and/or conflicting with the Court’s claim construction. 2

II.    LEGAL STANDARD

       A.      Legal Standard for Motions to Strike

       This Court requires a party claiming infringement to serve proper ICs that provide a

defendant with notice of a plaintiff’s infringement theories. EON Corp. IP Holdings, LLC v.

Sensus USA Inc., No. 6:09–cv–116, 2010 WL 346218, at *2 (E.D. Tex. Jan. 21, 2010). “Expert

infringement reports may not introduce theories not previously set forth in infringement



1 To be sure, Mobility initially served its original Expert Report of Dr. Nair on May 16, 2019.
See Ex. 7. Pursuant to the Court’s partial grant of Mobility’s Emergency Motion to Amend the
Scheduling Order, Mobility served its Updated Expert Report, which is substantially identical to
the initial report and which supersedes the initial report. Dkt. 88; compare Ex. 6 with Ex. 7.
Accordingly, Verizon need only move to exclude the Updated Expert Report.
2
  In addition, Verizon believes that the Rebuttal Expert Report of Dr. Sukuraman Nair Regarding
the Validity of U.S. Patent Numbers 8,213,417 and 7,231,330 (“Rebuttal Report”) should be
stricken as untimely, where Mobility served the report two days late on Saturday, July 6, 2019,
without any explanation, excuse, or request for leave, and the Court ordered rebuttal reports to be
filed on July 4, 2019. Dkt. 92. This is just the latest in a string of incidents in which Mobility
flouts the Court’s local rules and deadlines; Mobility has now filed three “emergency” motions
that fail to conform to L.R. CV-7(l), filed an oversize Markman brief without previously seeking
leave (Dkt. 66), failed to timely respond to 30 Requests For Admission, and failed to follow the
requirements of the Court’s scheduling order regarding the service of reports for “ALL” experts.
contentions.” ROY-G-BIV Corp. v. ABB, Ltd., 63 F. Supp. 3d 690, 699 (E.D. Tex. 2014); see

also Opal Run LLC v. C & A Mktg., Inc., No. 2:16-CV-24-JRG-RSP, 2017 WL 3381344 (E.D.

Tex. May 15, 2017) (striking newly introduced infringement theories when plaintiffs could have

identified them in their infringement contentions based on publicly available information). The

inquiry is whether the undisclosed theory “is in fact a new theory or new element of the accused

product to practice a particular claim that was not previously identified in the plaintiff’s

contentions, or whether the theory is instead the identification of additional evidentiary proof

showing that the accused element did in fact practice the limitation.” KlausTech, Inc. v. Google

LLC, No. 10-cv-05899, 2018 WL 5109383, at *3 (N.D. Cal. Sept. 14, 2018).

       B.      Legal Standard for Daubert Motions

       The trial court acts as a “gatekeeper” to expert testimony by assessing the soundness of

the expert’s methodology to exclude junk science, but the existence of sufficient facts and a

reliable methodology is in all instances mandatory. See, e.g., Hathaway v. Bazany, 507 F.3d

312, 318 (5th Cir. 2007); Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147-48 (1999); Gen.

Elec. Co. v. Joiner, 522 U.S. 136, 142 (1997); Daubert, 509 U.S. at 589-90. “Expert reports

must include a complete statement of the expert’s opinions, the basis and reasons for them, and

any data or other information considered when forming them.” ROY-G-BIV Corp., 63 F. Supp.

3d at 699 (citing FED. R. CIV. P. 26(a)(2)). Conclusory opinions unsupported by facts or data and

based on no discernable principles and methods are inadmissible. Genband US LLC v.

Metaswitch Networks Corp., No. 2:14-CV-33-JRG-RSP, 2016 WL 3475688, at *2 (E.D. Tex.

Jan. 7, 2016). Moreover, expert testimony that conflicts with the Court’s constructions is neither

relevant nor helpful to the jury. See, e.g., Saffran v. Johnson & Johnson, No. 2:07-CV-451, 2011

WL 197871, at *3–4 (E.D. Tex. Jan. 20, 2011); Liquid Dynamics Corp. v. Vaughan Co., 449

F.3d 1209, 1224 & n.2 (Fed. Cir. 2006).

                                                  2
III.   ARGUMENT

       For brevity, the asserted claims of the ’417 and ’330 Patents are reproduced in Exhibit 3

and Verizon makes reference to each claim element by the bracketed annotations in Exhibit 3.

       A.      Dr. Nair Improperly Introduces New Theories of Infringement Absent from
               Mobility’s ICs That Should Be Stricken.

       Dr. Nair’s report improperly introduces several new theories of infringement that were

absent from Mobility’s ICs. As such, these new arguments should be stricken.

               1.      The ’417 Patent

       Without any analysis, Dr. Nair introduces a new theory of induced infringement absent

from Mobility’s ICs. See Ex. 6, ¶ 23. Regarding Claim Element [417.1c] requiring a “home

agent,” Mobility’s ICs accused the network node called the Serving Gateway (S-GW). Ex. 4,

14-15. In contrast, Dr. Nair identifies the PDN Gateway (P-GW) as the “home agent.” Ex. 6,

¶¶ 210-15. Likewise, regarding Claim Element [417.1d] requiring a “foreign agent,” Mobility’s

ICs accused only the “Evolved Node B (eNB),” but Dr. Nair identifies “the eNodeB/S-GW

component by itself or in conjunction with the S-GW.” Ex. 4, 16-17; Ex. 6, ¶¶ 216-23. As his

own report shows, the S-GW and P-GW are completely different network nodes with different

functionalities and responsibilities. See Ex. 6, ¶¶ 202-05; see also Ex. 8, ¶¶ 37-68.

       Regarding Claim Element [417.7c], Dr. Nair introduces several new, independent

theories of infringement—i.e., triangulation, E911 requirements, Minimized Drive Test, and

“Proximity Indication” for femtocells.3 Ex. 6, ¶¶ 246-50. None of these theories were in

Mobility’s ICs, which only identified certain handover events and a “LocationInfo” element that

allegedly “determine[s] a distance.” Ex. 4, 43-45. While the theories in the ICs bore some



3These theories are also discussed in more detail in Verizon’s Motion for Summary Judgment of
Non-Infringement. Dkt. 95, 17-20.


                                                 3
relation to the accused LTE handovers, Dr. Nair’s newly introduced theories have no connection

to the accused handovers, and his “Proximity Indication” theory involves entirely different

network equipment called CSG cells and different processes that were also never accused and are

not within the scope of this lawsuit. See Ex. 6, ¶¶ 250-51. Further, his analysis for Claim

Element [417.7d] is entirely based on this “Proximity Indication” theory, which again is absent

from Mobility’s ICs. See Ex. 4, 46-47; Ex. 6, ¶¶ 251-52.

               1.      The ’330 Patent

       Dr. Nair’s report as to the ’330 Patent relies on several theories that were not disclosed in

Mobility’s Complaint or ICs: (1) a theory of induced infringement; (2) a doctrine-of-equivalents

theory (“DOE”); and (3) accusations against previously undisclosed manufacturers and products.

First, Dr. Nair and Mobility’s entire theory of infringement appears to be that Verizon induces

infringement by mobile device manufacturers performing compliance tests. Ex. 6, ¶ 22. This

theory of indirect infringement is based on Verizon Open Network Development specifications

intended for third-party consumption and is completely new; Mobility’s Complaint and ICs only

alleged that Verizon directly infringes the Asserted Claims of the ’330 Patent. Dkt. 1, ¶ 63; Ex.

5, 3, 7, 11, 14, 17, 23, 30, 32. Dr. Nair’s entire analysis for the ’330 Patent is premised on this

new theory of induced infringement, and should be stricken. See Ex. 6, ¶¶ 19, 22, 82-89, 91-102,

104-109, 113, 115-116, 120, 131-149, 152-161. The introduction of new theories of inducement

in the first instance in an expert report is impermissible.

       Next, Dr. Nair relies on DOE theories in his report, whereas Mobility’s Complaint and

ICs only asserted that Verizon literally infringes the Asserted Claims of the ’330 Patent. Dkt. 1,

¶¶ 63, 65; Ex. 5, 2, 3. Dr. Nair’s sole contention with respect to DOE was a bare recitation of the

“function-way-result” test and that “any differences . . . are insubstantial.” Ex. 5, 2.

“[B]oilerplate allegations . . . [in] infringement contentions are insufficient” to preserve such

                                                  4
arguments.4 Sycamore IP Holdings LLC v. AT&T Corp., et al., No. 2:16-CV-588 (E.D. Tex.

Oct. 10, 2017) (Bryson, J., sitting by designation).

       Finally, Dr. Nair lists a variety of equipment and manufacturers throughout his report that

were not included in the Complaint and the ICs and as such are not included within the scope of

this lawsuit. Ex. 6, ¶¶ 87, 104-109, 140, 152. In the Complaint and ICs, Mobility only identified

Verizon’s Accused Testing Service as comprising various Spirent products. Dkt. 1, ¶¶ 68, 69;

Ex. 5, 5. In contrast, in his report, Dr. Nair identifies manufacturers such as Rohde & Schwarz,

ANITE, Anritsu, Cetecom, Comprion, Setcom, SGS, W2BI, WITS, and 7 Layers, for example.

Ex. 6, ¶ 106. Notably, all of the evidence that Dr. Nair relies upon in identifying these

manufacturers is publicly available information. See Opal Run, No. 2:16-CV-24-JRG-RSP,

2017 WL 3381344. Although Dr. Nair’s analysis with respect to these manufacturers is woefully

deficient and conclusory as explained further infra Section III.B.2, his opinions should be

stricken for the independent reason that these manufacturers and products were not adequately

disclosed in the Complaint or the ICs.

       B.      Dr. Nair’s Incomplete and Conclusory Opinions Fail to Meet the Threshold
               Under Daubert and Should Be Excluded.

               1.      The ’417 Patent

       For every limitation of the asserted claims of the ’417 Patent, Dr. Nair’s analysis is

incomplete, based on insufficient evidence, and/or outright conclusory. Beginning with Claim

Element [417.1a], which both parties agree is a limiting preamble, Dr. Nair boldly alleges that

“Proxy Mobile IPv6 is part of the requirement set by Verizon for all LTE products,” but his only

basis is a quote from a draft document dated February 2019 relating only to Verizon’s LTE Band



4 These DOE theories are also addressed in Verizon’s Motion for Summary Judgment of Non-
Infringement. See Dkt. 95, 24.


                                                 5
13 network access that states: “IP mobility shall be handled by GTP and/or Proxy Mobile IPv6.”

Ex. 6, ¶ 207 (emphasis added); Ex. 8, ¶¶ 155-63; Ex. 9, 1, 33, 81. That is, Dr. Nair makes an

extreme generalization of Verizon’s entire LTE network over the entire period of alleged

infringement based on a very recent document about one particular segment of Verizon’s

network which refers to an optional feature. This faulty analysis fails to meet the Daubert

standard as a matter of law. See Johnson v Arkema, Inc., 685 F.3d 452, 459 (5th Cir. 2012)

(“The reliability prong [of Daubert] mandates that expert opinion be grounded in the methods

and procedures of science and be more than unsupported speculation or subjective belief.”).

       For Claim Elements [417.1c] and [417.1d], Dr. Nair provides an incomplete analysis for

his identification of the P-GW as the “home agent” and the “eNodeB/S-GW component by itself

or in conjunction with the S-GW” as the “foreign agent.” The Court construed “foreign agent”

as “a network node on a visited network that assists the mobile node in receiving

communications,” yet he fails to explain what aspect of Verizon’s LTE network satisfies the

required claim element of a “visited network.” See Ex. 6, ¶¶ 216-23. Similarly, he defines a

“home agent” as “the agent that resides in the home network,” but fails to identify what satisfies

the required claim element of a “home network.” See id., ¶¶ 210-15. Clearly the definition and

identification of the “home network” and “foreign network”—which both parties agree are

separate networks—is critical to proving infringement of claims requiring a “home agent” and

“foreign agent,” respectively. See id., ¶ 219 (“[W]hen a mobile phone moves away from its

home network and away from the home agent’s local network, it will be in a foreign network or

visited network.”); see also Ex. 8, ¶¶ 106-19, 166-93. Without identifying the underlying “home

network” and “visited network,” Dr. Nair’s identification of the “home agent” and “foreign

agent” is baseless. Further, Dr. Nair tries to redefine “visited network” on the basis of IP




                                                 6
addresses and tunneling (Ex. 6, ¶¶ 220-22), but the Court specifically rejected Mobility’s attempt

to do the same during claim construction:

               Plaintiff presented no evidence that tunneling is always necessary
               for the claims to be operable, and Plaintiff cited nothing in the
               specification that defines “foreign agent” in terms of tunneling. . . .
               Plaintiff has neither submitted evidence demonstrating that
               “network prefix” has a readily understood meaning nor shown that
               this limitation is compelled by any particular evidence. Indeed,
               Plaintiff has urged the Court not to limit the claims to Mobile IP . . .

See Dkt. 74, 7-13; Saffran, 2011 WL 197871, at *3–4.

       For Claim Element [417.1e] requiring “a ghost-foreign agent,” the parties’ agreed

construction is “a virtual node corresponding to a foreign agent that can make a mobile node

aware of the corresponding foreign agent’s presence in a communication network proximate to

the predicted future location of the mobile node.” Dkt. 74, 6. Dr. Nair briefly identifies certain

system messages but provides no analysis whatsoever as to how the future location of a mobile

node is “predicted” and why the alleged foreign agent(s) identified are proximate to that

“predicted future location.” See Ex. 6, ¶¶ 224-30. Similarly, Claim Element [417.1f] requires a

“ghost-mobile node that creates replica IP messages . . . triggering signals based on a predicted

physical location of such mobile node or distance with relation to the at least one foreign

agent,” but Dr. Nair fails to address these limitations in his analysis.5 Id., ¶¶ 231-37.

       For Claim Element [417.4], Dr. Nair mistakenly recites Claim Element [417.1f] and leaps

to the conclusion that “Verizon infringes Claim 4.” Id., ¶¶ 238-40. In that leap, he fails to

provide any analysis of Claim 4, which requires “the at least one ghost mobile node is a proxy

element for the at least one foreign agent and the at least one mobile node, the at least one ghost-




5The absence of a “predicted physical location of such mobile node or distance” is discussed in
more detail in Verizon’s Motion for Summary Judgment of Non-Infringement. See Dkt. 95, 17.


                                                  7
mobile node triggering registration based on a distance to a foreign agent by relaying security

and shared secrets from a mobile node, and at least one advertisement message from a foreign

agent in a vicinity of the ghost-mobile node,” especially the emphasized elements.

       For Claim Element [417.7b], Dr. Nair cites to the same Verizon-branded document

discussed above to state that “[t]he location information or position [of a mobile node] is copied

over to the eNodeB by Verizon. This is done by the Measurement Report and it contains

device’s location.” Ex. 6, ¶ 244. As stated earlier, the information cited from this document is

not representative of Verizon’s LTE network as a whole, and Dr. Nair relies on information

related to “Minimization of Drive Test,” which is directed to testing and not for regular use of

Verizon’s LTE network. See Ex. 8, ¶¶ 162, 257-60; Ex. 9, 145-146.

       For Claim Element [417.7c], Dr. Nair provides newly introduced infringement theories,

as discussed above, but for each one he fails to provide an explanation of how it “determin[es] a

distance, in the ghost mobile node . . . , to a closest foreign agent with which the mobile node can

complete a handover” as required. See Ex. 6, ¶¶ 246-50; see also Ex. 8, ¶¶ 262-71.

       For Claim Element [417.7d], Dr. Nair opines that “this elementi [sic] is met by Verizon’s

X2 handover and CSG cells/eNodeBs,” but his cursory analysis only discusses a particular

handover process involving CSG cells, which is not accused in this case. See Ex. 6, ¶¶ 251-53.

       For Claim Element [417.7e], in the most conclusory manner possible, Dr. Nair simply

restates the claim language—“upon completion of the handover a registration is updated in the

mobile node”—and provides no further analysis. See id., ¶¶ 254-55.

       Finally, Dr. Nair alleges that “Verizon actively induces its customers and end users (who

use the Verizon LTE Network) to infringe,” but no analysis of induced infringement is present in

the entirety of Dr. Nair’s report for the ’417 Patent. See Ex. 6, ¶ 23.




                                                  8
               2.      The ’330 Patent

       Like the ’417 Patent, for nearly every limitation of the Asserted Claims, Dr. Nair’s

analysis is based on insufficient evidence and conclusory allegations. First, for Claim Element

[330.1b], critically requiring “a plurality of fixedly-located wireless network nodes,” Dr. Nair

fails to provide any analysis regarding whether any of the alleged wireless network nodes that he

has identified are “fixedly-located,” as required by all Asserted Claims.6 See Ex. 6, ¶¶ 94-134.

Indeed, they are not “fixedly-located,”—a fact that is fatal to Mobility’s claim.

       For Claim Element [330.1c], requiring a mobile node that “wirelessly communicate[s]”

with the wireless network nodes, Dr. Nair fails to provide any allegations or analysis as to how

the connection between the mobile node and the wireless network nodes is wireless. Rather than

provide any analysis based on documentary evidence, Dr. Nair makes conclusory allegations and

then jumps to conclusions, such as, wireless tests are “the most effective way to test a phone”

and therefore the mobile node is “configured to wirelessly communicate with the wireless

network nodes.” Ex. 6, ¶¶ 131-34. But nowhere does Dr. Nair provide any analysis of a specific

mobile node being configured to wirelessly communicate with any specific wireless network

node, nor identify any accused equipment that allegedly implements that wireless network node.

Rather, Dr. Nair generally alleges in the abstract, without support, that unidentified mobile nodes

are “configured to wirelessly communicate with the [unidentified] wireless network nodes.”

This amounts to a bare recitation of the claim language and should be stricken for failure to

adequately support his opinions.

       For Claim Element [330.1d], requiring a “network emulator communicatively linked to




6 This limitation is discussed in more detail in Verizon’s Motion for Summary Judgment of Non-
Infringement. Dkt. 95, 21-23.


                                                 9
each of said plurality of wireless network nodes” and configured to emulate various attributes of

a packet-based wired communications network, Dr. Nair merely points to various uses of the

term “network emulator” in various documents. Ex. 6, ¶¶ 135-140. But, again, Dr. Nair fails to

examine how any of these references to “network emulators” satisfy other limitations of this

element, including how those emulators might be “communicatively linked” to the wireless

network nodes, as required by the claim language. Indeed, for each limitation, Dr. Nair fails to

provide an analysis of how any of the identified equipment is used in combination to form the

“system” that, as a whole, allegedly infringes Claim 1. Rather, Dr. Nair’s “analysis” comprises

scattershot references to the terms in the limitations, without any discussion as to the relevance

of those terms.

       Finally, for Claim Element [330.1e], Dr. Nair again simply identifies various pieces of

equipment as the “controller” without analysis. See Ex. 6, ¶ 152. For example, Dr. Nair opines

that “Spirent, Anritsu, ANITE, and all other providers use a laptop or controller to turn on and

control the simulation.” Id. But Dr. Nair does not identify how or whether the alleged

controllers infringe the various limitations of Element [330.1e], such as requiring that the

controller simulate mobile communication conditions “without changing operating parameters”

of the mobile node. Dr. Nair’s conclusory allegations to the contrary should be stricken.

IV.    CONCLUSION

       Because “[e]xpert infringement reports may not introduce theories not previously set

forth in infringement contentions,” and “[e]xpert reports must include a complete statement of

the expert’s opinions, the basis and reasons for them,” ROY-G-BIV, 63 F. Supp. 3d at 699,

Verizon respectfully requests that the Court strike Dr. Nair’s opinions and preclude Dr. Nair

from testifying as set forth above.




                                                 10
Dated: July 12, 2019    Respectfully submitted,

                        By: /s/ Ross R. Barton
                        Ross R. Barton (NC Bar No. 37179)
                        ALSTON & BIRD LLP
                        101 South Tyron Street, Suite 4000
                        Charlotte, North Carolina, 28280
                        Phone: (704) 444-1000
                        Fax: (704) 444-1111
                        ross.barton@alston.com

                        Michael J. Newton (CA Bar No. 156225)
                        ALSTON & BIRD LLP
                        1950 University Avenue
                        5th Floor
                        East Palo Alto, CA 94303
                        Phone: (650) 838-2000
                        Fax: (650) 838-2001
                        mike.newton@alston.com

                        Sang (Michael) Lee (TX Bar No. 24083378)
                        ALSTON & BIRD LLP
                        2200 Ross Avenue, Suite 2300
                        Dallas, Texas 75201
                        Phone: (214) 922-3400
                        Fax: (214) 922-3899
                        michael.lee@alston.com

                        Darlena H. Subashi (NC Bar No. 53142)
                        ALSTON & BIRD LLP
                        90 Park Avenue
                        New York, NY 10016
                        Phone: (212) 210-1277
                        Fax: (212) 210-9444
                        darlena.subashi@alston.com
                        *Admitted to practice in North Carolina and
                        Massachusetts only.

                        E. Leon Carter (TX Bar No. 03914300)
                        Scott W. Breedlove (TX Bar No. 00790361)
                        CARTER ARNETT PLLC
                        8150 N. Central Expressway, Suite 500
                        Dallas, TX 75206
                        Phone: (214) 550-8188
                        Fax: (214) 550-8185
                        lcarter@carterarnett.com


                       11
                                                   sbreedlove@carterarnett.com

                                                   Attorneys for Defendant Cellco Partnership,
                                                   D/B/A Verizon Wireless


                              CERTIFICATE OF CONFERENCE

       Pursuant to Eastern District of Texas Local Rule CV-7(h), I certify that counsel met and

conferred telephonically on June 28, 2019, July 1, 2019, and July 10, 2019, in a good faith effort

to resolve all issues regarding Verizon’s Motion to Strike and Exclude Certain Portions of the

Expert Testimony of Sukumaran Nair, Ph.D. The parties met and conferred on June 28, 2019, July

1, 2019, and July 10, 2019 (which included Ross R. Barton on behalf of Verizon and Michael

Machat on behalf of Mobility), but the parties were unable to resolve their differences and an

impasse was declared.

                                                              /s/ Ross R. Barton
                                                              Ross R. Barton




             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I hereby certify that certain exhibits to this document that were designated

“CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” are being filed under seal

pursuant to the Court’s authorization in Paragraph 15 of the Protective Order entered in this matter.

                                                              /s/ Ross R. Barton
                                                              Ross R. Barton




                                                 12
                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 12, 2019, a true and correct copy of certain exhibits to this

document that are being filed under seal have been served via e-mail on all counsel or parties of

record.

                                                               /s/ Ross R. Barton
                                                               Ross R. Barton




                                                  13
